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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ANDY CHOY SAEPHAN
6

7
                    IN THE UNITED STATES DISTRICT COURT
8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )     CR.S. 07-460-EJG
11                                 )
                    Plaintiff,     )     STIPULATION AND ORDER
12                                 )     TO EXTEND TIME FOR STATUS
          v.                       )     CONFERENCE AND EXCLUDE TIME
13                                 )
     DAVID THAM, et al.,           )     DATE: April 4, 2008
14                                 )     Time: 10:00 a.m.
                    Defendants.    )     Judge: Edward J. Garcia
15   ______________________________)
16

17        Defendant ANDY CHOY SAEPHAN, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender, defendant
19   DAVID THAM by and through his counsel, DANNY BRACE, defendant
20   VINCENT DEVENECIA by and through his counsel, PETER KMETO and the
21   United States Government, by and through its counsel, PHILLIP
22   TALBERT, Assistant United States Attorney, hereby stipulate that
23   the status conference set for March 14, 2008 be rescheduled for a
24   status conference/change of plea on Friday, April 4, 2008 at
25   10:00 a.m.
26        This continuance is being requested because defense counsel
27   requires additional time to receive and review discovery, discuss
28   the case with the government, and pursue investigation.

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1         Speedy trial time is to be excluded from the date of this
2    order through the date of the status conference/change of plea
3    set for April 4, 2008 pursuant to 18 U.S.C. § 3161 (h)(8)(B)(iv)
4    [reasonable time to prepare] (Local Code T4).
5    DATED: March 12, 2008
6
                                                Respectfully Submitted,
7
                                                DANIEL J. BRODERICK
8                                               Federal Defender
9
                                                /s/ Dennis S. Waks
10                                              Supervising Assistant
                                                Federal Defender
11                                              Attorney for Defendant
                                                ANDY CHOY SAEPHAN
12

13   DATED:    March 12, 2008                    /s/ Peter Kmeto
                                                PETER KMETO Attorney for
14                                              VINCENT DEVENECIA
15

16   DATED:    March 12, 2008                    /s/ Danny Brace
                                                DANNY BRACE Attorney for
17                                              DAVID THAM
18

19
     DATED:    March 12, 2008                   McGREGOR W. SCOTT
20                                              United States Attorney
21
                                                 /s/ Dennis S. Waks for
22                                              PHILLIP TALBERT
                                                Assistant U.S. Attorney
23
     SO ORDERED.
24

25   Dated: March 13,      2008
26

27                                       /s/ Edward J. Garcia
                                         EDWARD J. GARCIA
28                                       United States District Court Judge

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